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                                    COURTROOM MINUTES
                                SENTENCING / JUDICIAL REVIEW

         2/2/2016              Tuesday                           1:18 pm                      2:08 pm
DATE: ____________    DAY: ______________        START TIME: ______________     END TIME: ______________
                    WMC                                  JLS                                 LS
JUDGE/MAG.: ___________________          CLERK: _____________________   REPORTER: ____________________
                             J. Harris
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN:
             15-cr-54-wmc-2
CASE NUMBER: _______________________                   Amandou Camara
                                     CASE NAME: USA v. _____________________________________


APPEARANCES:
AUSA: Robert Anderson
      ____________________________________         DEFENDANT ATTY.: Gregory Dutch
                                                                    ________________________________
      ____________________________________                              ________________________________
                                                   DEFENDANT PRESENT: YES


SENTENCING GUIDELINE RANGE:
                               25
      TOTAL OFFENSE LEVEL: __________                                           1
                                                 CRIMINAL HISTORY CATEGORY: __________
                                                 57            71
      ADVISORY GUIDELINE IMPRISONMENT RANGE: __________ to __________ MONTHS.


SENTENCE:
                 1
COUNT(S) _______________:       INDICTMENT           INFORMATION
            1          30           3                 100 CA; $ ___________ REST.; $ __________ FINE.
CBOP CT. _______;    ______ MOS.; ______ YRS. S/R; $ ______
      CT. _______;   ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
                               3/3/2016
      VOLUNTARY SURRENDER: _______________            noon
                                           between __________       2:00 pm
                                                              and __________;
      RELEASE CONDITIONS CONTINUED.
      DETAINED.


ACTIONS:
      PLEA AGREEMENT ACCEPTED
      DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
      DEFENDANT ADVISED OF RIGHT TO APPEAL
      GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
      REVOKED


NOTES:
 Motion to dismiss the Indictment is granted.
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
                                                                                               50 min
                                                                           TOTAL COURT TIME: __________
